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  4
       Entered on Docket
   5 October 07, 2020
___________________________________________________________________
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  7       Richard F. Holley, Esq. (NV Bar No. 3077)
          Email: rholley@nevadafirm.com
  8       Mary Langsner, Ph.D. (NV Bar No. 13707)
          Email: mlangsner@nevadafirm.com
  9       HOLLEY DRIGGS
          400 South Fourth Street, Third Floor
  10      Las Vegas, Nevada 89101
          Telephone:     702/791-0308
  11      Facsimile:     702/791-1912
          Attorneys for PowerUp Lending Group, Ltd.; and EMA Financial, LLC
  12

  13                                   UNITED STATES BANKRUPTCY COURT

  14                                               DISTRICT OF NEVADA

  15      In re:                                                       Case No. 20-50780-BTB
                                                                       Chapter 11
  16      PHARMAGREEN BIOTECH, INC.,
                                                                       ORDER GRANTING MOTION TO
  17                         Debtor.                                   DISMISS BANKRUPTCY CASE

  18
                                                                       Date of Hearing:           September 30, 2020
  19                                                                   Time of Hearing:           2:00 p.m.

  20                                                                   Judge: Hon. Bruce T. Beesley

  21               On September 30, 2020 (“Hearing”), the Court conducted a hearing on the Motion to
  22      Dismiss Bankruptcy Case (“Motion”) [ECF No. 32]1 filed by PowerUp Lending Group, Ltd.
  23      (“PowerUp”) and EMA Financial, LLC (“EMA”) (collectively with PowerUp, “Creditors”). The
  24      Motion sought dismissal of the Bankruptcy Case of debtor Pharmagreen Biotech, Inc. (“Debtor”)
  25      pursuant to 11 U.S.C. § 305(a) or alternatively pursuant to 11 U.S.C. § 1112(b) on the grounds
  26

  27      1
            All references to “ECF No.” are to the numbers assigned to the documents filed in the bankruptcy case identified in
          the caption above (“Bankruptcy Case”) as they appear on the docket maintained by the Clerk of the Court of the United
  28      States Bankruptcy Court for the District of Nevada.


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1    that Pharmagreen does not qualify as a debtor based on its contemplated business operations which

2    include the cultivation and sale of marijuana.

3             At the Hearing, attorney Richard F. Holley, Esq. of the law firm Holley Driggs appeared

4    on behalf of Creditors; attorney Thomas E. Crowe, Esq. appeared on behalf of Debtor Pharmagreen

5    Biotech, Inc.; attorney Ryan J. Works, Esq. appeared on behalf of Auctus Fund, LLC; and all other

6    appearances were noted on the record at the Hearing.

7             The Court has read and reviewed the Motion; the papers, pleadings, and declarations filed

8    in support of and in opposition to the Motion; the papers and pleadings on file in this Bankruptcy

9    Case; and all other matters identified by the Court at the Hearing. The Court has also heard the

10   oral arguments of counsel who appeared on the record at the Hearing. Based upon the findings of

11   fact and conclusions of law placed on the record at the Hearing, which are hereby expressly

12   incorporated pursuant to Fed. R. Bankr. P. 9014(a) and (c), and good cause appearing:

13            IT IS ORDERED that the Motion to Dismiss Bankruptcy Case is GRANTED.

14            IT IS FURTHER ORDERED that the Court finds that cause exists warranting the

15   dismissal of Debtor’s Bankruptcy Case under 11 U.S.C. § 1112(b) and also, alternatively, finds

16   that dismissal of this Bankruptcy Case is appropriate under 11 U.S.C. § 305(a).

17            IT IS FURTHER ORDERED that the Bankruptcy Case of Debtor Pharmagreen Biotech,

18   Inc. is hereby DISMISSED.

19            IT IS FURTHER ORDERED that this Court retains jurisdiction over any disputes arising
20   from or related to this Order.

21            IT IS SO ORDERED.

22   Prepared and submitted by:

23   HOLLEY DRIGGS

24
       /s/ Richard F. Holley
25   Richard F. Holley, Esq. (NV Bar No. 3077)
     Mary Langsner, Ph.D. (NV Bar No. 13707)
26   400 South Fourth Street, Third Floor
     Las Vegas, Nevada 89101
27   Attorneys for PowerUp Lending Group, Ltd.; and EMA Financial, LLC

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1                                        RULE 9021 CERTIFICATE

2    In accordance with Local Rule 9021, counsel submitting this document certifies that the order
     accurately reflects the court’s ruling and that (check one):
3
              The Court has waived the requirements set forth in LR 9021(b)(1).
4
              No party appeared at the hearing or filed an objection to the motion
5
              I have delivered a copy of this proposed order to all counsel who appeared at the hearing,
6             any unrepresented parties who appeared at the hearing, and each has approved or
              disapproved the order, or failed to respond, as indicated below [list each party and whether
7             the party has approved, disapproved, or failed to respond to the document]:

8    APPROVED/DISAPPROVED                                 APPROVED/DISAPPROVED

9     DID NOT RESPOND
                                                            /s/ Ryan J. Works
10   Thomas E. Crowe, Esq. (NSBN 3048)                    Ryan J. Works, Esq. (NSBN 9224)
     THOMAS E. CROW PROFESSIONAL                          McDONALD CARANO LLP
11   LAW CORPORATION                                      2300 West Sahara Avenue, Suite 1200
     2830 S. Jones Blvd., Suite 3                         Las Vegas, Nevada 89102
12   Las Vegas, Nevada 89146
                                                          Philip M. Giordano, Esq.
13   Attorneys for Debtor                                 Thomas A. Bockhorst, Esq.
     Pharmagreen Biotech, Inc.                            Giordano & Company, P.C.
14                                                        REED & GIORDANO, P.A.
                                                          47 Winter Street, Suite 800
15                                                        Boston, Massachusetts 02108-4774
16                                                        Counsel for Creditor Auctus Fund, LLC
17            I certify that this is a case under Chapter 7 or 13, that I have served a copy of this order
              with the motion pursuant to LR 9014(g), and that no party has objected to the form or
18            content of the order.
19                                                          HOLLEY DRIGGS
20
                                                              /s/ Richard F. Holley
21                                                          Richard F. Holley, Esq.
                                                            Nevada Bar No. 3077
22                                                          400 South Street, Third Floor
                                                            Las Vegas, NV 89101
23

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